         Case 1:21-mj-00469-RMM Document 10 Filed 06/17/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
               v.                           :       Case No. 21-cr-469 (RMM)
                                            :
BRIAN CHRISTOPHER MOCK,                     :
                                            :
                      Defendant.            :


                       JOINT PROPOSED BRIEFING SCHEDULE

       Pursuant to the Court’s June 16, 2021 order, the parties have conferred and submit this

joint proposed briefing schedule regarding the government’s Motion for Emergency Stay and for

Review of the Release Order (Docket Entry 6). The parties have agreed to the following due dates:

           •   June 17, 2021: Defendant’s Response to the Government’s Brief

           •   June 18, 2021 by 12:00 p.m.: Government’s Reply (if needed)



                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney
                                            DC Bar No. 415793


                                     By:    /s/ Amanda Jawad
                                            Amanda Jawad
                                            Assistant United States Attorney
                                            District of Columbia Detailee
                                            N.Y. Bar No. 5141155
                                            211 W. Fort Street
                                            Detroit, MI 48226
                                            Amanda.Jawad@usdoj.gov
                                            (313) 226-9116
Case 1:21-mj-00469-RMM Document 10 Filed 06/17/21 Page 2 of 2




                           /s/ Keala Ede (with consent)
                           Keala Ede
                           Counsel for Brian Christopher Mock
                           Office of the Federal Public Defender
                           300 South Fourth Street
                           U.S. Courthouse
                           Suite 107
                           Minneapolis, MN 55415
                           (612) 664-5858
                           Keala_ede@fd.org
